                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:08cv44-V-2
                           (5:03cr48-4-V)


BRUNO INIGUEZ-VILLAVICENCIO,  )
                              )
          Petitioner,         )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
                              )
          Respondent.         )
______________________________)


     THIS MATTER is before the Court on initial review of Peti-

tioner’s Motion to Vacate, Set Aside, or Correct Sentence under

28 U.S.C. §2255.    For the reasons stated below, Petitioner’s

Motion to Vacate will be dismissed.

                   I. FACTUAL AND PROCEDURAL HISTORY

     On June 29, 2004, a Superceding Bill of Indictment was filed

charging Petitioner (along with 28 others) with conspiring to

possess with intent to distribute five kilograms or more of

cocaine, 500 grams or more of methamphetamine and 1,000 kilograms

or more of marijuana, all in violation of 21 U.S.C. §§ 841 and

846 (Count One), conspiring to import the same quantities of co-

caine, methamphetamine and marijuana, all in violation of 21

U.S.C. §§ 963, 960(a) and 960(b)(2)(B)(ii) (Count Two), and

conspiring to commit money laundering, in violation of 18 U.S.C.

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§ 1956(h)(Count Three).       At his arraignment proceeding, Peti-

tioner pled “not guilty” to the charges and requested a jury

trial.

     However, on May 4, 2005 –- after jury selection had begun,

Petitioner entered into a written Plea Agreement with the Govern-

ment.    Among other matters, the parties’ Agreement contains

Petitioner’s promise to plead guilty to Count One in exchange for

the Government’s promise to dismiss the remaining charges.             The

Agreement also reflects Petitioner’s acknowledgment that he was

facing a statutory mandatory minimum term of no fewer than 10

years and no more than life imprisonment.

     As for his specific conduct, the Agreement contains the

parties’ stipulation that Petitioner could be held accountable

for in excess of 3.5 kilograms but less than 5 kilograms of

cocaine and in excess of 1,000 kilograms but less than 3,000

kilograms of marijuana; and that Petitioner’s corresponding Base

Offense Level was 32.    Of particular relevance here, the parties’

Agreement reports Petitioner’s intention to argue for a Safety

Valve reduction under 18 U.S.C. § 3553(f)(2)through 4 and U.S.

Sentencing Guidelines § 5C1.2(2) through 4.

     The Court held Petitioner’s Plea and Rule 11 Hearing on May

4, 2005.    During that proceeding, the Court engaged Petitioner in

a lengthy colloquy to ensure that his guilty plea was being in-

telligently and voluntarily made.        By his sworn responses to the


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Court’s numerous questions, Petitioner established that he had

received a copy of the Indictment and had discussed the document

with counsel, and he understood the Court’s explanation of the

charges and their elements. Moreover, Petitioner’s answers

established that he understood that he was facing a statutory

minimum mandatory term of 10 years up to life imprisonment; that

no one knew exactly what his sentence would be and his attorney

had only been able to give him his best estimate of what that

sentence might be; that the sentence which he ultimately received

might have been different from any estimate which his attorney

may have given him and which the prosecutor may have promised to

recommend for him; that his attorney was not in a position to

promise him or guarantee any particular sentence; and that if he

were sentenced to a term which was more severe than he expected

or more than any estimate which he had received, he still would

have been bound by his guilty plea.

     Petitioner’s answers further established that he had taken

enough time to discuss possible defenses with counsel; that he

was tendering a guilty plea because he, in fact, was guilty of

the subject offense; that, other than the terms of his Plea

Agreement, no one had made him any promises of leniency or a

light sentence to induce his guilty pleas; that no one had

threatened, intimidated, or otherwise forced him into pleading

guilty; and that he was satisfied with the services of his


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attorney.   Thus, at the conclusion of that proceeding, the Court

accepted Petitioner’s guilty plea.

     Next, on October 11, 2005, the Court conducted Petitioner’s

Factual Basis and Sentencing Hearing.        At the outset of that pro-

ceeding, the Court addressed defense counsel’s argument that

Petitioner’s criminal history score over-represented the serious-

ness of his criminal history because he was being assessed with

one point for having sustained a conviction for using offensive

words in public and with two points for having committed the

instant offense during the three-year term of summary probation

he was serving for that prior minor conviction.          However, the

Court rejected counsel’s arguments finding that Petitioner’s

criminal history properly had been scored.

     The Court further found that Petitioner was not eligible for

a downward departure or a downward variance.         Moreover, the Court

found that even though the parties’ Plea Agreement provided that

the Government would not oppose such a reduction if the Court de-

termined it to be applicable, Petitioner was not eligible for a

Safety Valve reduction because he had three criminal history

points.   Thus, the Court determined that Petitioner’s total

Offense Level was 29, his Criminal History Category was II and

his corresponding Guidelines sentencing range was 120 to 121

months.

     During his allocution, Petitioner apologized for his con-


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duct explaining that he had turned himself in because he knew he

would be caught, and he took full responsibility for his actions.

Petitioner also asked the Court to consider a number of factors--

including his age, background, relatively clean criminal history,

the limited role which he played in the offense and the fact that

he likely will be deported following his release from prison–-

and sentence him below the Guidelines range.        Ultimately, the

Court sentenced Petitioner to the statutory mandatory minimum

term of 10 years imprisonment.     Petitioner timely gave his Notice

of Appeal.

     On appeal at the Fourth Circuit Court of Appeals, Petitioner

first argued that this Court failed to establish an adequate

factual basis to support his guilty plea.       United States v.

Villavicencio, 217 Fed. App’x 265, 266 (4th Cir. 2007) (unpub-

lished).   However, the Court of Appeals rejected Petitioner’s

claim concluding that the record contained his numerous admis-

sions along with certain stipulations in his Plea Agreement, all

of which were sufficient to establish a factual basis for his

guilty plea.   Id. at 266.

     Petitioner also argued that this Court erred in determining

that the three criminal history points which he received in con-

nection with his prior “offensive words” conviction made him

ineligible for a Safety Valve reduction and in failing, under

United States v. Booker, 543 U.S. 220 (2005), to impose a


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sentence below the statutory mandatory minimum.           Id. at 266-67.

Again, however, the Circuit Court ruled against Petitioner find-

ing that his sentence was correctly calculated and that Booker

had made the Guidelines advisory but had “not alter[ed] the

mandatory nature of statutorily required minimum sentences.”               Id.

at 267.

     Last, Petitioner argued that his trial counsel was ineffec-

tive for having advised him to plead guilty and at sentencing.

The appellate Court did not reach the merits of that claim,

however, because no evidence of any such ineffectiveness was

conclusively apparent from the record.         Id.   Accordingly, Peti-

tioner’s conviction and sentence were affirmed. Id.

     Now, by the instant Motion to Vacate Petitioner first claims

that this Court improperly concluded that he was ineligible for a

Safety Valve reduction and imposed a 10-year sentence, thereby

resulting in a fundamental miscarriage of justice.              Second, Peti-

tioner claims that his attorney was ineffective for having failed

to protect him from having his prior conviction included in his

criminal history calculations and for having failed to advise him

that he was ineligible for a Safety Valve reduction and subject

to a 10-year mandatory minimum term.

                              II.   ANALYSIS

     Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed promptly to examine


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motions to vacate, along with “any attached exhibits and the

record of prior proceedings . . .” in order to determine whether

a petitioner is entitled to any relief.       The Court has conducted

such a review and determined that Petitioner is not entitled to

any relief on his claims; thus, neither a response from the

government nor a hearing is required in this matter.

          A.   Petitioner’s challenge to his sen-
               tence is procedurally barred.

     By his first claim, Petitioner is attempting to re-hash his

appellate argument, essentially claiming that this Court erred in

refusing to apply a Safety Valve reduction and in sentencing him

to a statutory mandatory minimum 10-year sentence.            However, as

was previously noted, the Court of Appeals already has found that

Petitioner’s sentence was correct in that his prior conviction

properly was scored and included in his Guidelines calculations.

Villavicencio, 217 Fed. App’x at 265-66.       Thus, in the absence of

a favorable, intervening change in the law which can be applied

on collateral review, Petitioner simply is not free to re-

litigate claims which already were rejected on direct review.

Davis v. United States, 417 U.S. 333, 342 (1974); Boeckenhaupt v.

United States, 537 F.2d 1182 (4th Cir. 1976).

     Although Petitioner now is attempting to ground this claim

in the new argument that his sentence represents a fundamental

miscarriage of justice, such argument falls far short of direct-

ing the Court’s attention to any intervening change in the law

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which would authorize him to reassert his claim.          Therefore,

Petitioner’s first claim is procedurally barred.

          B.   Petitioner’s claim of ineffective as-
               sistance is baseless.

     By his remaining claim, Petitioner alleges that he was

subjected to ineffective assistance of counsel in that counsel

failed to protect him from having his prior conviction included

in his criminal history calculations, and to advise him that he

was ineligible for a Safety Valve reduction and subject to 10-

year mandatory minimum term.

     With respect to claims of ineffective assistance of counsel,

Petitioner must show that counsel's performance was constitution-

ally deficient to the extent it fell below an objective standard

of reasonableness, and that he was prejudiced thereby.           Strick-

land v. Washington, 466 U.S. 668, 687-91 (1984).          In making this

determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Under these circumstances, Petitioner “bears the burden of

proving Strickland prejudice.”     Fields, 956 F.2d at 1297, citing

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Hutchins, 724 F.2d at 1430-31.     If Petitioner fails to meet this

burden, a “reviewing court need not consider the performance

prong.”    Fields, 956 F.2d at 1290, citing Strickland, 466 U.S. at

697.

       Moreover, in considering the prejudice prong of the analy-

sis, the Court must not grant relief solely because Petitioner

can show that, but for counsel’s performance, the outcome of the

proceeding would have been different.        Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855 (1999).

Rather, the Court “can only grant relief under . . . Strickland

if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S. 364,

369 (1993).

       More critically, inasmuch as Petitioner has alleged ineffec-

tive assistance of counsel following the entry of his guilty

plea, he has a different burden to meet.        See Hill v. Lockhart,

474 U.S. at 53-59; Fields, 956 F.2d at 1294-99; and Hooper v.

Garraghty, 845 F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S.

843 (1988).    The Fourth Circuit described a petitioner’s burden

in a post-guilty plea claim of ineffective assistance of counsel

as follows:

            When a [petitioner] challenges a conviction
            entered after a guilty plea, [the] “prejudice
            prong of the [Strickland] test is slightly
            modified. Such a defendant must show that
            there is a reasonable probability that, but
            for counsel’s errors, he would not have

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          pleaded guilty and would have insisted on
          going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59-60; and Fields, 956 F.2d at 1297.             Criti-

cally, however, if a petitioner fails to meet his burden of

demonstrating prejudice, a “reviewing court need not consider the

performance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     Thus, “the central inquiry” is whether, but for counsel’s

alleged errors, this Petitioner would have insisted on a trial.

Slavek v. Kinkle, 359 F.Supp.2d 473, 491 (E.D. Va. 2005) (sum-

marily rejecting claims of ineffectiveness on prejudice prong

based on petitioner’s failure and inability to argue that but for

alleged errors, he would have insisted on trial or entered a

different guilty plea).       Courts have stated that this inquiry is

an “objective one based on whether going to trial might reasona-

bly have resulted in a different outcome.”         Martin v. United

States, 395 F. Supp. 2d 326, 329 (D. S.C. 2005).           See also Beck

v. Angelone, 261 F.3d 377, 396 (4th Cir. 2001) (finding that in

light of overwhelming evidence of guilt and lack of available

defenses, petitioner could not establish prejudice under the

modified “reasonable probability” standard); and Burket v.

Angelone, 208 F.3d 172, 190-91 (4th Cir. 2000) (same).

     Turning back to the record, as an initial matter the Court

reiterates that during his Plea and Rule 11 Hearing, Petitioner

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swore that he understood that he was facing the 10-year statutory

mandatory minimum term and no one had made him any promises of

lenience or of a light sentence in order to induce his guilty

pleas.   Likewise, Petitioner swore that he understood that his

sentence could not be determined until after his Pre-Sentence

Report was completed and any estimate from any source, including

counsel, merely was an approximation and not a promise.

     In addition, Petitioner’s Plea Agreement reflects his

intention to argue for a Safety Valve reduction but makes no

mention of any promises from anyone that he, in fact, would

receive it.   Further, during Petitioner’s sentencing proceeding,

trial counsel told the Court that Petitioner’s Plea Agreement had

been negotiated “on the hopes that he would get the safety valve”

reduction and no one had promised him a reduction, yet Petitioner

did not take issue with counsel’s representation when he addres-

sed the Court in his own behalf.        Therefore, on this record,

Petitioner cannot establish that counsel actually made any

statements or promises upon which he detrimentally relied.

     Moreover, while the Court is aware that Petitioner has as-

serted that but for counsel’s alleged ineffectiveness, he would

have pled “not guilty” and proceeded to trial, such assertion is

highly suspect in light of the facts of this case.            That is,

Petitioner does not claim that he is innocent of the instant

offenses.   Nor has Petitioner bothered to point the Court to any


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evidence which counsel could have presented in order to secure an

acquittal.

     On the other hand, the record shows that Petitioner was

charged in a 29-defendant Indictment with three separate vio-

lations of federal law, two of which exposed him to 10-year

statutory minimum mandatory terms and to advisory Guidelines

terms which exceed that 10-year minimum.        Thus, even if the

Government had “little evidence against [Petitioner],” as he now

argues, there simply was no guarantee that one or more of his 28

co-defendants would not have cooperated against him and given

damaging testimony in a trial.      However, by having pled guilty,

Petitioner was able to sustain a single conviction, stipulate to

involvement with less than the total amount of drugs which were

alleged in the Indictment, secure certain offense level reduc-

tions and receive a lower sentence than the term to which he

otherwise was exposed.    Thus, the Court finds that it was quite

reasonable for Petitioner to have pled guilty in an effort to

secure a lower sentence for himself.

     Finally, Petitioner argues that trial counsel failed to

protect him from the consequences of his prior conviction.             More

specifically, Petitioner claims that counsel should have peti-

tioned the California court for early termination, nunc pro tunc,

of the probationary sentence which he was serving for his

“offensive words” conviction so that he would not have been


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assessed with any criminal history points for that matter. Never-

theless, Petitioner has failed to direct the Court to any

authority -- and the Court is not aware of any legal precedent --

which supports his underlying premise that the Sixth Amendment

requires an attorney who has been appointed to represent a de-

fendant on federal charges in one district to collaterally attack

or otherwise seek to terminate a conviction which previously was

sustained in a state court in a different jurisdiction in order

to reduce his client’s potential sentencing exposure.             According-

ly, on this record Petitioner cannot establish that counsel even

was deficient.

                              III. CONCLUSION

     The Court has considered Petitioner’s Motion, the entire

record of this matter and the relevant legal precedent, and has

found that Petitioner is not entitled to any relief on his

claims.

                                IV.   ORDER

     IT IS, THEREFORE, ORDERED that Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence is DISMISSED.




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   SO ORDERED.



                                      Signed: June 6, 2008




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